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                                     CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, which was filed with the Court through the

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                                                       /s/ William J. Trach
                                                       William J. Trach




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